 8:09-cr-00003-JFB-MDN              Doc # 92   Filed: 06/08/09     Page 1 of 1 - Page ID # 242




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              ) 8:09CR3
                                               )
                       vs.                     ) ORDER FOR DISMISSAL
                                               ) OF FORFEITURE COUNTS
ANTONIO FRAUSTO,                               )
JOSE FRAUSTO-DIAZ,                             )
JORGE HERNANDEZ-CAMPOS,                        )
                                               )
                       Defendants.             )


       Pursuant to Motion of the United States (Filing No. 91), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

forfeiture counts, Counts V and VI, of the Indictment against Antonio Frausto, Jose Frausto-Diaz

and Jorge Hernandez-Campos.

       IT IS ORDERED that the Motion to Dismiss Forfeiture Counts (Filing No. 91) is

granted.

       Dated this 8th day of June, 2009

                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               Chief United States District Judge
